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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                    )
 UNITED STATES OF AMERICA,                          )
                                                    ) Case No. 1:21-cr-175-TJK
                                                    )
                        v.                          )
                                                    )
 ETHAN NORDEAN, et al.,                             )
                                                    )
         Defendants.                                )
                                                    )

                       DECLARATION OF ADRIENNA DICIOCCIO

       I, ADRIENNA DICIOCCIO, a resident of the State of Missouri, hereby declare under

penalty of perjury that the following is true and correct:

       1.      I am a stay-at-home mother of a 17-month-old son. I know Ethan Nordean

through personal and professional connections.

       2.      I was present on the evening of January 5, 2021 in an Airbnb residence in

Washington, D.C., where Ethan and others were gathered.

       3.      In September 2021, FBI agents interviewed me in connection with the events of

January 5 and January 6, 2021. During the September interview, one of the agents indicated that

the go ernment anted to keep its meeting ith me discreet. At some point after the interview,

the agents texted me to inquire whether I would agree to be interviewed again. Initially, I did not

respond. The agents persisted, again inquiring whether I would agree to a second interview. I

relented, indicating I was available on November 4, 2021.

       4.      On No ember 4, the go ernment s agents arri ed at m home. I as s rprised to

see them accompanied by two prosecutors, one named Jason and the other Nadia. I had never

met them before.




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       5.      During this second interview, the agents and prosecutors asked for my

recollections about the evening of January 5 in the Airbnb residence where Ethan and others

were gathered. I do not recall the specific words I used, but I informed the interviewers

generally that I disagreed with the suggestion that Ethan and the others in his group were

planning violence or an attack on the Capitol on January 6. I generally informed the agents and

prosecutors that, as someone involved in planning peaceful events with the Proud Boys in the

past, I disagreed with their suggestion that Ethan and others in the Airbnb were planning

violence the following day in D.C.

       6.      The November interview lasted approximately two hours. Near the end of the

interview, I could see the prosecutors were not satisfied with what I was telling them. The

conversation became heated. For most of the interview, my son was sitting in my lap. The

government s inter ie ers ere sing rhetoric like, Yo don t ant to lose him.

       7.      One of the prosecutors, Nadia, indicated that I would be charged with offenses for

m cond ct on Jan ar 6. I asked, What charges? The prosec tor responded that the               o ld

incl de obstr ction of j stice charges and trespass. I remember that the prosec tor s indication

that I would be charged came after my comments to the group that I did not agree with their

questions implying that the group in the Airbnb on January 5 were planning to attack the Capitol

or commit violence on January 6. My partner who arrived home later, who is not a government

emplo ee, said something to the effect that this meant I o ld be prosec ted if I didn t gi e the

government what it wanted. That was also my understanding. The prosecutor responded to the

effect that I would be prosecuted because of what I did. Shortly after this exchange, the agents

and prosecutors left my home.




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       8.      Approximately one hour later, I received a phone call from one of the agents in

contact ith me, Tre or. I cannot repeat the agent s e act ords b t the      ere to the effect that

he knew I did not like the way the meeting ended. The agent added words to the effect that I

should not worry, that if I did end up being charged it would end up being a misdemeanor

offense, not obstruction of justice. The agent made reference to a certain unnamed January 6

defendant whose obstruction charges were dropped for a misdemeanor and said it would be this

way for me if I were charged. The agent added words to the effect that they would not come

arrest me and make it a public deal.

       9.      After hearing the prosec tor s statement abo t being charged, I as terrified for

myself and for my son.

Executed on December 8, 2022

                                                    __________________________
                                                    Adrienna DiCioccio




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